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 7   WARRIOR TRADING, INC.;
     and ROSS CAMERON
 8

 9                           IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     JEFFREY P. FORTIS, an individual,        Case No.: 2:19-cv-00627-MCE-KHN
12
                    Plaintiff,                DECLARATION OF ALDEN J.
13                                            PARKER IN SUPPORT OF MOTION
            v.                                OF DEFENDANTS WARRIOR
14                                            TRADING, INC. AND ROSS CAMERON
     WARRIOR TRADING, INC., a Delaware        FOR JUDGMENT ON THE
15
     corporation; ROSS CAMERON, an            PLEADINGS; OR, IN THE
16   individual; and DOES 1 through 50,       ALTERNATIVE, TO STAY THE
     inclusive,                               PRESENT CASE
17
                    Defendants.               Date:           June 13, 2019
18                                            Time:           2:00 p.m.
19                                            Location:       Courtroom 7

20                                            Removed:        April 12, 2019
                                              Trial Date:     None set
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      DECLARATION OF ALDEN J. PARKER IN SUPPORT OF MOTION OF DEFENDANTS FOR JUDGMENT
            ON THE PLEADINGS; OR, IN THE ALTERNATIVE, TO STAY THE PRESENT CASE
     FPDOCS 35315559.1
     Case 2:19-cv-00627-MCE-KJN Document 5-2 Filed 05/03/19 Page 2 of 3

 1           I, Alden J. Parker, declare:
 2           1.      I am over the age of eighteen and an attorney licensed to practice before all courts
 3   of the State of California and in the United States District Court for the Eastern District of
 4   California. I am an attorney with Fisher & Phillips LLP, attorneys of record for Defendants
 5   WARRIOR TRADING, INC. and ROSS CAMERON (collectively “Defendants”) in the above-
 6   captioned case. If called as a witness, I could and would testify competently to the matters set
 7   forth in this declaration.
 8           2.      Plaintiff JEFFREY P. FORTIS (“Plaintiff”) instituted this lawsuit against
 9   Defendants in the Superior Court of California, County of Yolo, Case Number CV 19-472, on
10   March 7, 2019. Plaintiff’s Complaint alleges the following causes of action: (1) retaliation in
11   violation of California Labor Code Section 1102.5; (2) wrongful termination in violation of public
12   policy; and (3) defamation. Attached hereto as Exhibit A is a true and correct copy Plaintiff’s
13   Complaint that was filed in the Superior Court of California, County of Yolo, on March 7, 2019.
14           3.      On April 12, 2019, my office, on behalf of Defendants, filed a Notice of Removal,
15   a copy of Plaintiff’s Complaint, and all other related papers with the United States District Court
16   for the Eastern District of California, pursuant to 28 U.S.C. Sections 1332, 1441, and 1446.
17           I declare under penalty of perjury under the laws of the state of California and the United
18   States of America that the foregoing is true and correct.
19           Executed on May 3, 2019, at Sacramento, California.
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21                                                 /s/ Alden J. Parker
                                                   Alden J. Parker
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      DECLARATION OF ALDEN J. PARKER IN SUPPORT OF MOTION OF DEFENDANTS FOR JUDGMENT
            ON THE PLEADINGS; OR, IN THE ALTERNATIVE, TO STAY THE PRESENT CASE
     FPDOCS 35315559.1
     Case 2:19-cv-00627-MCE-KJN Document 5-2 Filed 05/03/19 Page 3 of 3

 1                                   CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed in the County of Sacramento, State of California. I am
 3   over the age of 18 and not a party to the within action; am employed with the law offices of
     Fisher & Phillips LLP and my business address is 621 Capitol Mall, Suite 1400, Sacramento, CA
 4   95814.

 5           On May 3, 2019, I served the foregoing document entitled DECLARATION OF
     ALDEN J. PARKER IN SUPPORT OF MOTION OF DEFENDANTS WARRIOR
 6
     TRADING, INC. AND ROSS CAMERON FOR JUDGMENT ON THE PLEADINGS; OR,
 7   IN THE ALTERNATIVE, TO STAY THE PRESENT CASE, on all the appearing and/or
     interested parties in this action as follows:
 8
       Avi M. Attal                                     T:   (949) 812.4781
 9     Samuel Yu                                        F:   (949) 281-2105
       Mimi Ahn                                         E:   aattal@kahanafeld.com
10
       KAHANA & FELD, LLP                               E:   syu@kahanafeld.com
11     3 Hutton Centre Drive, Suite 685                 E:   mahn@kahanafeld.com
       Santa Ana, CA 92707
12                                                      Attorneys for Plaintiff
                                                        JEFFREY P. FORTIS
13

14
             [by ELECTRONIC SUBMISSION] - I served the above listed document(s) described
15           via the United States District Court’s Electronic Filing Program on the designated
             recipients via electronic transmission through the CM/ECF system on the Court’s
16           website. The Court’s CM/ECF system will generate a Notice of Electronic Filing (NEF)
             to the filing party, the assigned judge, and any registered users in the case. The NEF will
17           constitute service of the document(s). Registration as a CM/ECF user constitutes consent
18           to electronic service through the court’s transmission facilities.

19           [by MAIL] I am readily familiar with the firm's practice of collection and processing
             correspondence for mailing. Under that practice it would be deposited with the U.S.
20           Postal Service on that same day with postage thereon fully prepaid at Sacramento,
             California in the ordinary course of business. I am aware that on motion of the party
21           served, service is presumed invalid if postage cancellation date or postage meter date is
22           more than one day after date of deposit for mailing this affidavit.

23           FEDERAL - I declare that I am employed in the office of a member of the bar of this
             Court at whose direction the service was made.
24
             Executed May 3, 2019, at Sacramento, California.
25

26     Angela L. Eure                            By:     /s/ Angela L. Eure
       Print Name                                        Signature

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                                            PROOF OF SERVICE
     FPDOCS 35315559.1
